                      IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF ALASKA


MICHELE S. KAHLE, Personal                  )
Representative of the Estate of             )
TYLER THOMAS KAHLE,                         )      Case No. 2:09-cv-00004 JWS
                                            )      (Consolidated)
                       Plaintiff,           )
                                            )
vs.                                         )      ORDER OF
                                            )      DISMISSAL WITH PREJUDICE
JLG INDUSTRIES, INC.,                       )
                                            )
                Defendants.                 )
                                            )

                Based on the stipulation of the parties, and the court being fully advised in

the premises,

                IT IS HEREBY ORDERED that all of the claims asserted by plaintiff in

this action against JLG Industries, Inc., are hereby dismissed in their entirety and with

prejudice, each side bearing its own costs and attorney's fees.

                DATED at Anchorage, Alaska, this 1ST day of August , 2011.



                                             /s/ JOHN W. SEDWICK
                                            Honorable John W. Sedwick
                                            United States District Court Judge




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